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                                                                                          FLED
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                           APR 1 5 2016
                                     NORFOLK DIVISION
                                                                                  CLERK. US DISTRICTCOURT
 RONALD W. WALDEN, JR.,                                                                  NORc^OLK. VA

 an individual,

                  Plaintiff,                            Civil Action No: 2\lUc^

 V.



 AFTON ASSOCIATES, L.L.C.
 a Virginia Limited Liability Company,
 and
 AFTON POPEYES ASSOCIATES, LLC,
 A Virginia Limited Liability Company,

                  Defendants.



                                         COMPLAINT


         Plaintiff, RONALD W. WALDEN, JR., an individual, by and through his undersigned

 counsel, hereby files this Complaint and sues AFTON ASSOCIATES, L.L.C., a Virginia Limited

 Liability Company, and AFTON POPEYES ASSOCIATES, LLC, a Virginia Limited Liability

 Company, for injunctive relief, attorneys' fees and costs pursuant to 42 U.S.C. §§ 12181 ^ seq..

 ("Americans with Disabilities Act" or "ADA") and damages pursuant to Virginia State law and

 states as follows:


                                  JURISDICTION AND PARTIES


         1.       This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, M           (the "ADA"). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court has supplemental

jurisdiction overthe subject matter of all otherclaims pursuant to 28 U.S.C. §1367(a).
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        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

Defendants' Property, which is the subject of this action, is located in Portsmouth, Virginia.

        3.      Plaintiff, RONALD W. WALDEN JR., (hereinafter referred to as "MR.

WALDEN") is a resident of the Conmionwealth of Virginia.

        4.      MR. WALDEN is a qualified individual with a disability under the ADA. Mr.

Walden is diagnosed with Osteogenesis imperfecta and uses a wheelchair for his primary means

of mobility.

        5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities and requires a wheelchair for mobility.

        6.      Upon information and belief, AFTON ASSOCL\TES, L.L.C. (hereinafter referred

to as "AFTON ASSOCL\TES" or "DEFENDANTS") a Virginia Limited Liability Company, is

the owner and/or operator of the place of public accommodation including the real property and

improvements which are the subject of this action, to wit: Afton Shopping Center, generally

located at 3800 George Washington Highway, Portsmouth, Virginia 23702 ("the Property"). The

Defendant is responsible for complying with all obligations of the ADA.

        7.      Upon information and belief, AFTON POPEYES ASSOCL\TES, LLC

(hereinafter referred to as "AFTON POPEYES" or "DEFENDANTS") a Virginia Limited

Liability Company, is the owner and/or operator of the place of public accommodation including
the real property and improvements which are the subject of this action, to wit: Popeyes

Restaurant, generally located at 3718 George Washington Highway, Portsmouth, Virginia 23702

("the Property"). The Defendant is responsible for complying with all obligations of the ADA.

        8.      All events giving rise to this lawsuit occurred in the Eastern District of Virginia.
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                                            COUNT I
                           (VIOLATION OF TITLE III OF THE ADA)


        9.      The allegations set forth in paragraphs 1 - 7 above are incorporated by reference

as if fully set forth herein.

        10.     The Property is a place of public accommodation and is therefore subject to Title

III of the ADA.


        11.     MR. WALDEN has visited the Property and plans to return to the Property in the

near future.


        12.     During his visit, MR. WALDEN experienced serious difficulty accessing the

goods and utilizing the services therein due to the architectural barriers discussed herein and in

paragraph 15 of this Complaint.

        13.     MR. WALDEN continues to desire to visit the Property, but continues to

experience serious difficultydue to the barriers discussed in Paragraph 14 which still exist.

        14.     MR. WALDEN plans to and will visit the Property once the barriers discussed in

paragraph 14 and any other barriers have been removed.

        15.     Defendants have discriminated, and continue to discriminate, against Plaintiff in

violation of 42 U.S.C. §§ 12181 ^ s^. and 28 C.F.R. §§ 36.302 ^ seq. by excluding and/or

denying Plaintiff the benefits of the goods and services located on the Property by failing to

provide and/or correct the following barriers to access which Plaintiff personally observed,

encountered, and which hindered his access:

                A.       inaccessible parking at the Property due to a failure to provide proper

                         access aisles, lack of signage, and some areas lack any designated
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                       accessible parking spots;

               B.      inaccessible parking due to improper presence of ramps in access aisle;

               C.      inaccessible entrances due to lack of level landing and lack of pull side

                       clearance;

               D.      inaccessible restrooms due to lack of clear floor space, lack of proper grab

                       bars, and lack of knee clearance under sink; and

               E.      inaccessible curb cuts throughoutthe Property due to excessive slopes.

        16.    To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

        17.    Independent of his intent to return as a patron of the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.


        18.    Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the

Defendants.


        19.    Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       20.     The Plaintiff has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have his reasonable attorneys' fees, costs,

and expenses paid by Defendants pursuant to 42 U.S.C. § 12205.
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                                               COUNT II
                                 (VIRGINIA STATE CLAIM )


        21.    Plaintiff reallages and incorporates into this cause of action each and every

allegation contained in the previous paragraphs numbered 1 through 20 of this Complaint.

        22.    Defendants' Property is a place of public accommodation under Section 51.5-44

of the Code of Virginia.

        23.    The architectural barriers and other accessibility barriers institute an ongoing act

of discrimination against the Plaintiff as a person with a disabilityin violationof Section 51.5-44

of the Code of Virginia.

       24.     As a direct and proximate result of Defendants' intentional and negligent failure

to remove its barriers to access. Plaintiff has been denied access and his civil rights have been

violated.


       25.     Consequently, the Plaintiffseeks monetary damages from the Defendants pursuant

to Section 51.5-46 of Code of Virginia for the discrimination he has experienced and continues to

experience.

                                    PRAYER FOR RELIEF


       WHEREFORE, the Plaintiffdemands judgment against DEFENDANTS and requests the

following injunctive and declaratory relief:

       A.      That the Court declare that the Property owned and administered by

               DEFENDANTS is in violation of the ADA;

       B.      That the Court enter an Order directing DEFENDANTS to alter their

               facilities to make them accessible to and useable by individuals with
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          disabilities to the ftill extent required by Title III of the ADA;

    C.    That the Court enter an Order directing DEFENDANTS to evaluate and

          neutralize its policies and procedures towards persons with disabilities for

          such reasonable time so as to allow DEFENDANTS to undertake and


          complete corrective procedures;

    D.    That the Court award reasonable attorneys' fees, costs (including expert

          fees), and other expenses of suit, to the Plaintiff;

    E.    That the Court award such other and further relief as it deems necessary, just

          and proper;

    F.    That this Court issue a Declaratory Judgment that the DEFENDANTS has

          violated the Virginia's Rights of Person with Disabilities Act;

    G.    That this Court orders the DEFENDANTS to alter the aforesaid premises to

          make such facilities accessible to and usable by individuals with disabilities

          to the extent required by the Virginia Statewide Building Code;

    H.    That this Court award Plaintiff monetary damages from the DEFENDANTS

          pursuant to Section 51.5-46 of the Code of Virginia; and

    J.    That this Court award Plaintiff such other additional and proper relief as

          may be just and equitable.

                                                  RONALD W. WALDEN, JR.




                                                  Deborah C. Waters, Esquire
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